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10
                                UNITED STATES DISTRICT COURT
11                            NORTHERN DISTRICT OF CALIFORNIA
                                   SAN FRANCISCO DIVISION
12

13                                                          MDL No. 3084 CRB
     IN RE: UBER TECHNOLOGIES, INC.,
14   PASSENGER SEXUAL ASSAULT                               Honorable Charles R. Breyer
     LITIGATION
15                                                          JURY TRIAL DEMANDED
16   This Document Relates to:
17
     Jane Doe LS 33 v. Uber Technologies, Inc., et
18   al., Case No. 3:23-cv-05427-CRB

19
                  SHORT-FORM COMPLAINT AND DEMAND FOR JURY TRIAL
20
            The Plaintiff named below files this Short-Form Complaint and Demand for Jury Trial
21
     against Defendants named below by and through the undersigned counsel. Plaintiff incorporates
22
     by reference the allegations contained in Plaintiffs’ Master Long-Form Complaint in In Re: Uber
23
     Technologies, Inc., Passenger Sexual Assault Litigation, MDL No. 3084 in the United States
24
     District Court for the Northern District of California. Plaintiff files this Short-Form Complaint as
25
     permitted by Case Management Order No. 11 of this Court.
26
            Plaintiff selects and indicates by checking-off where requested, the Parties and Causes of
27
     Actions specific to this case.
28

                                                                                    SHORT-FORM COMPLAINT
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 1
               Plaintiff, by and through their undersigned counsel, allege as follows:
 2

 3   I.        DESIGNATED FORUM 1

 4             1.      Identify the Federal District Court in which the Plaintiff would have filed in the

 5                     absence of direct filing:

 6       United States District Court, Northern District of California

 7   (“Transferee District Court”).

 8   II.       IDENTIFICATION OF PARTIES
 9             A.      PLAINTIFF
10             1.      Injured Plaintiff: Name of the individual who alleges they were sexually assaulted,
11                     battered, harassed, or otherwise attacked by an Uber driver with whom they were
12                     paired while using the Uber platform:
13       Jane Doe LS 33
14   (“Plaintiff”).
15             2.      At the time of the filing of this Short-Form Complaint, Plaintiff resides at:
16       Lakewood, Jefferson County, Colorado
17
               3.      (If applicable) ___________________is filing this case in a representative
18
                       capacity as the _________________of the _________________, and has authority
19
                       to act in this representative capacity because _________________.
20
               B.      DEFENDANT(S)
21
               1.      Plaintiff names the following Defendants in this action.
22
     [BEFORE PROCEEDING - PLEASE CAREFULLY READ AND CONSIDER THE
23
     PLACES OF INCORPORATION AND PRINCIPAL PLACE OF BUSINESS OR
24   RESIDENCE OF EACH DEFENDANT BEFORE SELECTING TO ENSURE THAT
     YOU ARE NOT NAMING ANY DEFENDANTS FROM THE SAME STATE AS THE
25   PLAINTIFF. THE PLACE OF INCORPORATION, PRINCIPAL PLACE OF

26

27

28
     1
         See Pretrial Order No. 6, at II(C) (ECF No. 177).                               SHORT-FORM COMPLAINT
                                                       -2-
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 1
     BUSINESS OR RESIDENCE OF EACH DEFENDANT IS IN THE FOOTNOTES FOR
 2   YOUR CONVENIENCE]:

 3                      ☒ UBER TECHNOLOGIES, INC.; 2
 4                      ☒ RASIER, LLC; 3
 5                      ☒ RASIER-CA, LLC. 4
 6                      ☐ OTHER (specify): ______________________________. This defendant’s
 7                     residence is in (specify state): ___________________.
 8           C.    RIDE INFORMATION
 9           1.    The Plaintiff was sexually assaulted, harassed, battered, or otherwise attacked by
10                 an Uber driver in connection with a ride facilitated on the Uber platform in
11                 Jefferson County, CO on July 17, 2019.
12           2.    The Plaintiff was the account holder of the Uber account used to request the
13                 relevant ride.
14           3.    The Plaintiff provides the following additional information about the ride:
15                 [PLEASE SELECT/COMPLETE ONE]
16                 ☒      The Plaintiff hereby incorporates Plaintiff’s disclosure of ride information
17                        produced pursuant to Pretrial Order No. 5 ¶ 4 on February 15, 2024 or to
18                        be produced in compliance with deadlines set forth in Pretrial Order No. 5
19                        ¶ 4, and any amendments or supplements thereto.
20                 ☐      The origin of the relevant ride was [STREET ADDRESS, CITY,
21                        COUNTY, STATE]. The requested destination of the relevant ride was
22                        [STREET ADDRESS, CITY, COUNTY, STATE]. The driver was named
23                        [DRIVER NAME].
24

25

26
     2
       Delaware corporation with a principal place of business in California.
27   3
       A limited liability company whose sole member, Uber Technologies, Inc., is a citizen of
     Delaware and California.
28   4
       A limited liability company whose sole member, Uber Technologies, Inc., is a citizen of
     Delaware and California.                                                   SHORT-FORM COMPLAINT
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 1
     III.    CAUSES OF ACTION ASSERTED
 2
             1.      The Causes of Action asserted in the Plaintiffs’ Master Long-Form Complaint, and
 3
                     the allegations with regard thereto in the Plaintiffs’ Master Long-Form Complaint,
 4
                     are adopted in this Short-Form Complaint by reference, except that Plaintiff opts
 5
                     out of and excludes the causes of action specified below:
 6
         Check any    Cause      Cause of Action
 7       EXCLUDED     of
         causes of    Action
 8       action       Number
            ☐             I      NEGLIGENCE (including Negligent Hiring, Retention, Supervision,
 9
                                 and Entrustment)
10                       II      FRAUD AND MISREPRESENTATION
            ☐
11          ☐            III     NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
12          ☒            IV      COMMON CARRIER’S NON-DELEGABLE DUTY TO PROVIDE
                                 SAFE TRANSPORTATION 5
13
            ☐            V       OTHER NON-DELEGABLE DUTIES TO PROVIDE SAFE
14                               TRANSPORTATION 6
            ☐            VI      VICARIOUS LIABILITY FOR DRIVERS’ TORTS – EMPLOYEE
15
            ☐           VII      VICARIOUS LIABILITY FOR DRIVERS’ TORTS – APPARENT
16                               AGENCY
            ☐           VIII     VICARIOUS LIABILITY FOR DRIVERS’ TORTS –
17                               RATIFICATION
18          ☐            IX      VICARIOUS LIABILITY FOR DRIVERS’ TORTS – Cal. Public
                                 Utilities Code § 535
19                       X       STRICT PRODUCTS LIABILITY – DESIGN DEFECT
            ☐
20          ☐            XI      STRICT PRODUCTS LIABILITY – FAILURE TO WARN
21          ☐           XII      STRICT PRODUCTS LIABILITY – PRODUCT LIABILITY ACTS
            ☐           XIII     UNFAIR COMPETITION LAW – Cal. Bus. & Prof. Code § 17200
22                               et seq.
23

24

25   5
       This claim is pleaded in the Plaintiffs’ Master Long-Form Complaint under the laws of every
26   state except: Arizona, Colorado, District of Columbia, Illinois (for incidents prior to August
     11, 2023), Michigan, Montana (for incidents prior to April 23, 2023), New York,
27   Pennsylvania, Wisconsin, and Wyoming.
28   6
      This claim is pleaded in Plaintiffs’ Master Long-Form Complaint under the laws of every state
     except: District of Columbia, Michigan, New York, Pennsylvania.           SHORT-FORM COMPLAINT
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 1
     VI.    ADDITIONAL CAUSES OF ACTION AND/OR ALLEGATIONS
 2
                                                     NOTE
 3
      If Plaintiff wants to allege additional Cause(s) of Action other those selected in paragraph __, the
 4    specific facts supporting any such additional Cause(s) of Action, must be pled in a manner complying
      with the requirements of the Federal Rules of Civil Procedure (see paragraph __). In doing so you may
 5    attach additional pages to this Short-Form Complaint.
 6
            1.      Plaintiff asserts the following additional theories against the Defendants
 7
                    designated in paragraph __ above:
 8
      N/A
 9
            2.      If Plaintiff has additional factual allegations not set forth in Plaintiffs’ Master
10
                    Long-Form Complaint, they may be set forth below or in additional pages:
11
      N/A
12

13          WHEREFORE, Plaintiff prays for relief and judgment against Defendants for economic

14   and non-economic compensatory and punitive and exemplary damages, together with interest,

15   costs of suit, attorneys’ fees, and all such other relief as the Court deems proper, and such further

16   relief as the Court deems equitable and just, and as set forth in Plaintiffs’ Master Long-Form

17   Complaint.

18                                             JURY DEMAND

19          Plaintiff hereby demands a trial by jury as to all claims in this action.

20    Dated: April 9, 2024                                   Respectfully Submitted,

21
                                                             ________________________________
22                                                           William A. Levin
                                                             Laurel L. Simes
23                                                           David M. Grimes
24                                                           Samira J. Bokaie
                                                             Attorneys for Plaintiff Jane Doe LS 33
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                                                                                        SHORT-FORM COMPLAINT
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